       Case 5:21-cv-05643-SVK Document 1 Filed 07/23/21 Page 1 of 8




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8                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA
9
10     Scott Johnson                             Case No.
11               Plaintiff,
12                                               Complaint For Damages And
         v.                                      Injunctive Relief For Violations
13                                               Of: Americans With Disabilities
       Tan Lu 3, Inc., a California              Act; Unruh Civil Rights Act
14     Corporation

15            Defendants.

16
17         Plaintiff Scott Johnson complains of Tan Lu 3, Inc., a California
18   Corporation; and alleges as follows:
19
20
       PARTIES:
21
       1. Plaintiff is a California resident with physical disabilities. Plaintiff is a
22
     level C-5 quadriplegic. He cannot walk and also has significant manual
23
     dexterity impairments. He uses a wheelchair for mobility and has a specially
24
     equipped van.
25
       2. Defendant Tan Lu 3, Inc. owned TK Noodle located at or about 1818
26
     Tully Rd, San Jose, California, in June 2021.
27
       3. Defendant Tan Lu 3, Inc. owns TK Noodle (“Restaurant”) located at or
28


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     Complaint
       Case 5:21-cv-05643-SVK Document 1 Filed 07/23/21 Page 2 of 8




1    about 1818 Tully Rd, San Jose, California, in June 2021.
2      4. Plaintiff does not know the true names of Defendants, their business
3    capacities, their ownership connection to the property and business, or their
4    relative responsibilities in causing the access violations herein complained of,
5    and alleges a joint venture and common enterprise by all such Defendants.
6    Plaintiff is informed and believes that each of the Defendants herein is
7    responsible in some capacity for the events herein alleged, or is a necessary
8    party for obtaining appropriate relief. Plaintiff will seek leave to amend when
9    the true names, capacities, connections, and responsibilities of the Defendants
10   are ascertained.
11
12     JURISDICTION & VENUE:
13     5. The Court has subject matter jurisdiction over the action pursuant to 28
14   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
15   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
16     6. Pursuant to supplemental jurisdiction, an attendant and related cause
17   of action, arising from the same nucleus of operative facts and arising out of
18   the same transactions, is also brought under California’s Unruh Civil Rights
19   Act, which act expressly incorporates the Americans with Disabilities Act.
20     7. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
21   founded on the fact that the real property which is the subject of this action is
22   located in this district and that Plaintiff's cause of action arose in this district.
23
24     FACTUAL ALLEGATIONS:
25     8. Plaintiff went to the Restaurant in June 2021 (three times) with the
26   intention to avail himself of its goods or services motivated in part to
27   determine if the defendants comply with the disability access laws.
28     9. The Restaurant is a facility open to the public, a place of public


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     Complaint
       Case 5:21-cv-05643-SVK Document 1 Filed 07/23/21 Page 3 of 8




1    accommodation, and a business establishment.
2      10. Unfortunately, on the dates of the plaintiff’s visits, the defendants failed
3    to provide wheelchair accessible inside dining surfaces in conformance with
4    the ADA Standards as it relates to wheelchair users like the plaintiff.
5      11. The Restaurant provides dining surfaces to its customers but fails to
6    provide any wheelchair accessible inside dining surfaces.
7      12. A problem that plaintiff encountered was that the inside dining surfaces
8    were all fixed booths. There was no wheelchair accessible table. A wheelchair
9    user could, conceivably, park at the end of the booths and use the end of the
10   table but this would cause the wheelchair user to be sitting in the required
11   circulation paths.
12     13. Plaintiff believes that there are other features of the dining surfaces that
13   likely fail to comply with the ADA Standards and seeks to have fully compliant
14   dining surfaces for wheelchair users.
15     14. On information and belief, the defendants currently fail to provide
16   wheelchair accessible dining surfaces.
17     15. These barriers relate to and impact the plaintiff’s disability. Plaintiff
18   personally encountered these barriers.
19     16. As a wheelchair user, the plaintiff benefits from and is entitled to use
20   wheelchair accessible facilities. By failing to provide accessible facilities, the
21   defendants denied the plaintiff full and equal access.
22     17. The failure to provide accessible facilities created difficulty and
23   discomfort for the Plaintiff.
24     18. Even though the plaintiff did not confront the following barriers, the
25   restroom mirror is too high and the plumbing underneath the sink is not
26   wrapped to protect against burning contact. Plaintiff seeks to have these
27   barriers removed as they relate to and impact his disability.
28     19. The defendants have failed to maintain in working and useable


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     Complaint
       Case 5:21-cv-05643-SVK Document 1 Filed 07/23/21 Page 4 of 8




1    conditions those features required to provide ready access to persons with
2    disabilities.
3      20. The barriers identified above are easily removed without much
4    difficulty or expense. They are the types of barriers identified by the
5    Department of Justice as presumably readily achievable to remove and, in fact,
6    these barriers are readily achievable to remove. Moreover, there are numerous
7    alternative accommodations that could be made to provide a greater level of
8    access if complete removal were not achievable.
9      21. Plaintiff will return to the Restaurant to avail himself of its goods or
10   services and to determine compliance with the disability access laws once it is
11   represented to him that the Restaurant and its facilities are accessible. Plaintiff
12   is currently deterred from doing so because of his knowledge of the existing
13   barriers and his uncertainty about the existence of yet other barriers on the
14   site. If the barriers are not removed, the plaintiff will face unlawful and
15   discriminatory barriers again.
16     22. Given the obvious and blatant nature of the barriers and violations
17   alleged herein, the plaintiff alleges, on information and belief, that there are
18   other violations and barriers on the site that relate to his disability. Plaintiff will
19   amend the complaint, to provide proper notice regarding the scope of this
20   lawsuit, once he conducts a site inspection. However, please be on notice that
21   the plaintiff seeks to have all barriers related to his disability remedied. See
22   Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
23   encounters one barrier at a site, he can sue to have all barriers that relate to his
24   disability removed regardless of whether he personally encountered them).
25
26   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
27   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
28   Defendants.) (42 U.S.C. section 12101, et seq.)


                                               4

     Complaint
       Case 5:21-cv-05643-SVK Document 1 Filed 07/23/21 Page 5 of 8




1      23. Plaintiff re-pleads and incorporates by reference, as if fully set forth
2    again herein, the allegations contained in all prior paragraphs of this
3    complaint.
4      24. Under the ADA, it is an act of discrimination to fail to ensure that the
5    privileges, advantages, accommodations, facilities, goods and services of any
6    place of public accommodation is offered on a full and equal basis by anyone
7    who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
8    § 12182(a). Discrimination is defined, inter alia, as follows:
9             a. A failure to make reasonable modifications in policies, practices,
10                or procedures, when such modifications are necessary to afford
11                goods,    services,    facilities,   privileges,    advantages,   or
12                accommodations to individuals with disabilities, unless the
13                accommodation would work a fundamental alteration of those
14                services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
15            b. A failure to remove architectural barriers where such removal is
16                readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
17                defined by reference to the ADA Standards.
18            c. A failure to make alterations in such a manner that, to the
19                maximum extent feasible, the altered portions of the facility are
20                readily accessible to and usable by individuals with disabilities,
21                including individuals who use wheelchairs or to ensure that, to the
22                maximum extent feasible, the path of travel to the altered area and
23                the bathrooms, telephones, and drinking fountains serving the
24                altered area, are readily accessible to and usable by individuals
25                with disabilities. 42 U.S.C. § 12183(a)(2).
26     25. When a business provides dining surfaces, it must provide accessible
27   dining surfaces.
28     26. Here, accessible dining surfaces have not been provided in


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     Complaint
       Case 5:21-cv-05643-SVK Document 1 Filed 07/23/21 Page 6 of 8




1    conformance with the ADA Standards.
2      27. When a business provides restrooms, it must provide accessible
3    restrooms.
4      28. Here, accessible restrooms have not been provided in conformance with
5    the ADA Standards.
6      29. The Safe Harbor provisions of the 2010 Standards are not applicable
7    here because the conditions challenged in this lawsuit do not comply with the
8    1991 Standards.
9      30. A public accommodation must maintain in operable working condition
10   those features of its facilities and equipment that are required to be readily
11   accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
12     31. Here, the failure to ensure that the accessible facilities were available
13   and ready to be used by the plaintiff is a violation of the law.
14
15   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
16   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
17   Code § 51-53.)
18     32. Plaintiff repleads and incorporates by reference, as if fully set forth
19   again herein, the allegations contained in all prior paragraphs of this
20   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
21   that persons with disabilities are entitled to full and equal accommodations,
22   advantages, facilities, privileges, or services in all business establishment of
23   every kind whatsoever within the jurisdiction of the State of California. Cal.
24   Civ. Code §51(b).
25     33. The Unruh Act provides that a violation of the ADA is a violation of the
26   Unruh Act. Cal. Civ. Code, § 51(f).
27     34. Defendants’ acts and omissions, as herein alleged, have violated the
28   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s


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     Complaint
        Case 5:21-cv-05643-SVK Document 1 Filed 07/23/21 Page 7 of 8




1    rights to full and equal use of the accommodations, advantages, facilities,
2    privileges, or services offered.
3       35. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
4    discomfort or embarrassment for the plaintiff, the defendants are also each
5    responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
6    (c).)
7       36. Although the plaintiff encountered frustration and difficulty by facing
8    discriminatory barriers, even manifesting itself with minor and fleeting
9    physical symptoms, the plaintiff does not value this very modest physical
10   personal injury greater than the amount of the statutory damages.
11
12             PRAYER:
13             Wherefore, Plaintiff prays that this Court award damages and provide
14   relief as follows:
15           1. For injunctive relief, compelling Defendants to comply with the
16   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
17   plaintiff is not invoking section 55 of the California Civil Code and is not
18   seeking injunctive relief under the Disabled Persons Act at all.
19           2. For equitable nominal damages for violation of the ADA. See
20   Uzuegbunam v. Preczewski, --- U.S. ---, 2021 WL 850106 (U.S. Mar. 8, 2021)
21   and any other equitable relief the Court sees fit to grant.
22           3. Damages under the Unruh Civil Rights Act, which provides for actual
23   damages and a statutory minimum of $4,000 for each offense.
24           4. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
25   to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
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     Complaint
       Case 5:21-cv-05643-SVK Document 1 Filed 07/23/21 Page 8 of 8




1    Dated: July 20, 2021         CENTER FOR DISABILITY ACCESS
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3
                                  By: _______________________
4
                                        Amanda Seabock, Esq.
5                                       Attorney for plaintiff
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     Complaint
